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        COUNSEL TO DEBTORS
        REAGOR-DYKES MOTORS, LP et al.

                               IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                         LUBBOCK DIVISION

            IN RE:                                                 §
                                                                   §
             REAGOR-DYKES MOTORS, LP, et al.1                      § Case No. 18-50214-rlj-11
                                                                   § Jointly Administered
                                          Debtor.                  §

                               NOTICE OF AGENDA FOR HEARING
            SCHEDULED FOR OCTOBER 18, 2018, AT 10:00 A.M. BEFORE THE HONORABLE
            ROBERT L. JONES AT THE UNITED STATES BANKRUPTCY COURT, LOCATED
                       AT 1205 TEXAS AVE., RM 306, LUBBOCK, TEXAS 79401

              This agenda sets forth items in the order the Debtors intend to present to the Court.
        The Status of each is set forth below.

                1.      Motion of Midland Central Appraisal District and Floyd Central Appraisal
        District to Intervene in the Motion for Relief from Stay by Ford Motor Credit Company LLC
        [Docket No. 98] filed by Midland Central Appraisal District and Floyd Central Appraisal
        District.

                        Status: This matter has been or will be withdrawn.

               2.     Motion of Midland County to Intervene in the Motion for Relief from Stay by Ford
        Motor Credit Company, LLC [Docket No. 102] filed by Midland Central Appraisal District and
        Floyd Central Appraisal District.

                        Status: This matter has been or will be withdrawn.




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         The Debtors are Reagor-Dykes Imports, LP (Case No. 18-50215), Reagor-Dykes Amarillo (Case No. 18-50216),
        Reagor-Dykes Auto Company, LP (Case No. 18-50217), Reagor-Dykes Plainview, LP (Case No. 18-50218), and
        Reagor-Dykes Floydada, LP (Case No. 18-50219).

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               3.     Universal Underwriters Service Corporation Motion to Compel Debtors to
        Accept or Reject Executory Contract or, Alternatively to Lift the Automatic Stay for Cause
        [Docket No. 180].

                         Status: This matter will be passed to a November 2018 setting.

              4.      Plainview Landlord’s Motion to Compel Assumption or Rejection of Unexpired
        Non-Residential Real Property Lease and Executory Contract and to Compel Debtor’s
        Compliance with 11 U.S.C. § 365(d)(3) Docket No. 186].

                         Status: This matter will be passed to a November 2018 setting or withdrawn.

              5.      Universal Underwriters Service Corporation Alternative Motion to Lift the
        Automatic Stay for Cause [Docket No. 194].

                         Status: This matter will be passed to a November 2018 setting.

                6.     Debtors’ Joint Emergency Motion for Authority to Use Cash Collateral [Docket
        No. 8] filed by the Debtors.

                         Status: Ford Motor Credit Company has agreed to the Debtors’
                                 use of cash collateral pursuant to an agreed budget. The
                                 parties are finalizing an agreement on that budget. The
                                 agreed budget will run through December 1, 2018.

              7.      Ford Motor Credit Company LLC’s Motion for Relief from the Automatic Stay
        [Docket No. 46] filed by Ford Motor Credit Company, LLC.

                         Status: This matter will be passed to a November 2018 setting.

              8.      Motion to Appoint Chapter 11 Trustee Pursuant to 11 U.S.C. § 1104(a) and (b)
        [Docket No. 47] filed by Ford Motor Credit Company, LLC.

                         Status: This matter has been withdrawn.

                9.      Motion for Order Authorizing and Directing Retail Lenders to Pay Outstanding
        Tax, Title, and License Fees and Trade-Lien Payoffs [Docket No. 349].

                   Responses/Oppositions:

                          a.    Texas Department of Motor Vehicles’ Response to Debtors’
                                Motion for Order Authorizing and Directing Retail Lenders
                                to Pay Outstanding Tax, Title, and License Fees and
                                Trade-Lien Payoffs [Docket No. 367].

                          b.    Ford Motor Credit Company LLC’s Response to Debtors’
                                Motion for Order Authorizing and Directing Retail Lenders


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                                 to Pay Outstanding Tax, Title, and License Fees and
                                 Trade-Lien Payoffs [Docket No. 368].

                           c.    Santa Fe Federal Credit Union’s Response to Debtors’
                                 Motion for Order Authorizing and Directing Retail Lenders
                                 to Pay Outstanding Tax, Title, and License Fees and
                                 Trade-Lien Payoffs [Docket No. 370].

                           d.    Wells Fargo Bank, N.A.’s Objection to Debtors’ Motion for
                                 Order Authorizing and Directing Retail Lenders to Pay
                                 Outstanding Tax, Title, and License Fees and Trade-Lien
                                 Payoffs [Docket No. 376].

                           e.    U.S. Bank National Association’s and USB Leasing LT’s
                                 Objection to Debtors’ Motion for Order Authorizing and
                                 Directing Retail Lenders to Pay Outstanding Tax, Title,
                                 and License Fees and Trade-Lien Payoffs [Docket No.
                                 390].

                          Status: The Debtors are working on a proposed agreed order
                          establishing a protocol to pay all unpaid taxes, title, and license
                          fees and trade-in liens. The Debtors will kindly request that the
                          Court set this hearing for the very end of the day. Prior to that
                          hearing, the Debtors will encourage counsel for each retail lender
                          to meet in the Court’s 341 meeting room (310).

               10.    Expedited Motion for Entry of an Order Authorizing the Debtors to Enter into the
        Trade-In Purchase Agreement with Kamkad Automotive Holdings, LLC [Docket No. 351].

                          Status: No opposition papers were filed.      This matter will go
                          forward.

               11.     Debtors’ Expedited Motion for Authority to Limit Notice Pursuant to Bankruptcy
        Rule 2002(i) [Docket No. 352].

                          Status: No opposition papers were filed.      This matter will go
                          forward.

                   The Debtors reserve the right to amend this Notice of Agenda as appropriate.

                                                      NOTICE

                   The pleadings in these cases and supporting papers are available on the Court’s website

        at: ecf.txnb.uscourts.gov. You may also request a copy of any pleading from counsel for the



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        Debtors at the following address:   Foley Gardere, Foley & Lardner LLP, 2021 McKinney

        Avenue, Suite 1600, Dallas, Texas 75201 (acordero@foley.com).




        DATED: October 16, 2018                         Respectfully submitted by:


                                                        /s/ Marcus A. Helt
                                                        Marcus A. Helt (TX 24052187)
                                                        C. Ashley Ellis (TX 00794824)
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                                                        COUNSEL TO DEBTORS REAGOR-
                                                        DYKES MOTORS, LP et al.




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